Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 1 of 27

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MERCER HEALTH & BENEFITS LLC,

Plaintiff,

_against_ Case No.:

MATTHEW DIGREGORIO, JOANNE STEED,
JADA PRESTON and LOCKTON COMPANIES,
LLC,

Defendants .

 

 

 

PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR A
TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTIGN AND
EXPEDITED DISCOVERY

 

A. Michael Weber

Shawn Matthew Clark
LITTLER MENDELSON, P.C.
900 Third Avenue

New York, NY 10022.3298
212.583.96()0

Attorneysfor Plczz`m‘z'jjF

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 2 of 27

TABLE OF CONTENTS
PAGE
PRELIMINARY STATEMENT ................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................ 3
A. Background On Mercer .......................................................................................... 3
B DiGregorio’S Employment With Mercer ............................................................... 3
C Steed’s Employment With Mercer ......................................................................... 4
D. Jada Preston’S Employment With Mercer .............................................................. 4
E The Non-Solicitation and Confidentiality Agreements ......................................... 5
F The Abrupt Resignation of DiGregorio, Steed and Preston .................................. 6
G Breaches Of The Non-Sonication Agreernents And Conf`ldentiality

Agreements By The Individual Defendants ........................................................... 7
H. Mercer’s Efforts to Abate the lndividual Defendants’ Breaches ........................... 9
ARGUMENT ................................................................................................................................. 9

I. MERCER IS ENTITLED TO A TEMPORARY RESTRAINING ORDER AND
PRELIMINARY INJUNCTIGN ....................................................................................... 9
A. Mercer Will Suffer lrreparable Hann A`,Sent Injunotive Relief 10

B. Mercer Has A likelihood Of Success On The Merits Or Can Demonstrate
A Sufflciently Serious Question Going To The Merits To Make Each Of

Their Claims Fair Grounds For litigation .......................................................... 12
1. Breach of Contract (Claims I, ll and II) ................................................... 13

2. Breach of Fiduciary Duties (Claim IV) and Unfair Competition
(Clairn VII) ............................................................................................... 16
3. Tortious Interference Claims (Claims V and VI) .................................... 17

C. A Balancing of the Equities Tips in Favor of Granting Preliminary

Injunctive Relief ................................................................................................... 19
II. MERCER SHOULD NOT BE REQUIRED TO POST A BOND .................................. 20

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 3 of 27

TABLE OF CONTENTS
(CONTINUED)
PAGE

III. THE COURT SHOULD GKANT PLAINTIFFS’ REQUEST FOR EXPEDITED
DISCOVERY ................................................................................................................... 20

-ji-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 4 of 27

TABLE OF AUTHORITIES
PAGE(S)

CASES
x4nai'in0‘v.Fz'scher,

555 F. Supp. 2d 418 (S.D.N.Y. 2008) .................................................................................... 10
DAG Jewish Directorz'es, Inc. v. Y & R Media, LLC,

2010 WL 46016 (S.D.N.Y. Jan. 7, 2010) .............................................................................. 21
Devos, Ltd. v. Record,

2015 WL 9593616 (E.D.N.Y. Dec. 24, 2015) ....................................................................... 12
Envtl. Servs., Inc. v. Recycle Green Servs., lnc.,

7 F. Supp. 3d 260 (E.D.N.Y. 2014) ....................................................................................... 18
Goldman, Sachs & Co. v. Golden Empire Sch. Fin. Auth.,

922 F. Supp. 2d 435 (S.D.N.Y. 2013) ...................................................................................... 9
1[[)(:? (jE§/i, llll<fj wa l§k:lzzg;z;%

416 F. App’x 86 (_2d Cir. 2011) ............................................................................................. 10
Johnson Controls, Inc. v. A.P.T. Critical Sys., Inc.,

323F.Supp.2d525(Sl)11122004) .............................................................................. 11,13
hdarsh LHL4lhc.v.1(arasaki

2008 WL 4778239 (S.D.N.Y. Oct. 31, 2008) ............................................................ 14, 15, 20
Adarsk LHL4lhc.v.5bhuhrehnen,

183F.Supp.3d529(2016) ....................................................................................... 14,16,19
MasterCard Int’l Inc. v, Nz`ke, lnc.,

2016 WL 797576 (S.D.N.Y. Feb. 23, 2016) .......................................................................... 13
D[¢4d.lhsh1#nen£slhc.v.}¥aben

188 F.3d 38 (2d Cir. 1999) ..................................................................................................... 12
Nebmskaland, Inc. v. Brody,

2010 WL 157496 (S.D.N.Y. Jan. 13, 2010) .......................................................................... 21
Oliver Wyman, Inc. v. Ez`elson, '

2017 WL 4403312 (S.D.N.Y. Sept. 29, 2017) ....................................................................... 14

-iii-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 5 of 27

TABLE ()F AUTHORITIES
(CONTINUED)
PAGE
PLC Trenching Co., LLC v. Newton,
2011 WL 13135653 (N.D.N.Y. Dec. 12, 2011) ..................................................................... 17
R.L.E. Corp. d/b/a Casa lmports v. Ferraro Foods, Inc.,
2015 WL 1456178 O\I.D.N.Y. March 30, 2015) .................................................................... 20
Reed Const. Data Inc. v. McGraw-Hill Cos., Inc.,
745 F. Supp. 2d 343 (S.D.N.Y. 2010) .................................................................................... 17
Scum' Em‘ers., LLC. v. Park Place Em‘m ’t Corp.,
322 F.3d 211 (2d Cir. 2003) ................................................................................................... 18
Silipos, Inc. v. Bz'ckel,
2006 WL 2265055 (S.D.N.Y. Aug. 8, 2006) ......................................................................... 14
Sz'ngas Famous Pizza Brands Corp. v. N. Y. Aa'vert. LLC,
2011 WL 497978 (S.D.N.Y. Feb. 10, 2011) .......................................................................... 20
Tz`cor Title Ins. Co. v. Cohen,
173 F.3d 63 (2€1 Cir. 1999) ..................................................................................................... 11
Um'- World Capital, L.P. v. Preferred Fragrance, Inc.,
73 F. Supp. 3d 209 (S.D.N.Y. 2014) .................................................................... 11, 12, 16, 20
USI Ins. Ser'vs. LLC v. Mz`ner,
801 F. Supp. 2d 175 (S.D.N.Y. 2011) ........................................................................ 13, 15, 16

..iV_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 6 of 27

PRELIMINARY STATEMENT

Plaintiff Mercer Health & Benetits LLC (“Mercer”) submits this memorandum of law in
support of its motion for a temporary restraining order, a preliminary injunction and expedited
discovery, brought by Order to Show Cause dated February 26, 2018. Mercer seeks to enjoin
Defendants Matthew DiGregorio, Joanne Steed and Jada Preston (collectively the “Individual
Defendants”), as Well as their current employer Lockton Companies, LLC (“Lockton”), and
anyone acting in concert With them, under their supervision, or on their behalf, from violating the
terms of the Non-Solicitation and Contidentiality Agreements each lndividual Defendant signed
during their respective employment With Mercer, and from engaging in continued tortious
conduct

Mercer employed the lndividual Defendants in senior sales and client management roles.
ln these capacities, each Individual Defendant gained valuable knowledge ot` Mercer’s clients,
including client needs, preferences, and benefit pian and policy terms and dates, as Well as fees
and revenues paid to Mercer. This client confidential information is protected by Mercer and not
available to the general public.

On tanuwry 17j 20183 Wit-_in minutes of each otherz each individual Det`endant resigied
his or her employment, by submitting nearly identical resignation notices, Without providing the
two Weeks’ notice required by l\/lercer’s Employee Handbook. The Individuals Defendants
immediately joined Defendant Lockton, a competitor or Mercer’s, and that same day, January
17th, Lockton announced the hiring of Defendant DiGregorio touting his credentials and
experience, including his employment at Mercer.

Thereafter, Mercer learned that the lndividual Defendants contacted at least eleven

Mercer clients following their resignations, and met With at least two other Mercer clients to

pitch work on behalf of their new employer, in breach of each Individual Defendant’s Non-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 7 of 27

Solicitation Agreement. Additionally, Mercer learned that the Individual Defendants provided
confidential client revenue data to Lockton in violation of their Confidentiality Agreements. On
February 22, 2018, just over one month after the Individual Defendants’ resignations, a client
formerly serviced by Steed and Preston informed Mercer that it was terminating its relationship
with Mercer to work with another vendor-Lockton.

Lockton’s tortious conduct in this case is part of corporate pattern of luring employees
from competitor businesses and using the confidential information it learns from its new
employees to unfairly solicit its competitors’ clients. lndeed, since 2006, Lockton has been sued
in at least sixteen separate actions alleging, among other claims, unfair competition,
misappropriate of trade secrets, tortious inference with contract, tortious interference with
economic advantage, civil conspiracy, breach of non-solicitation agreements and violations of
the Defend Trade Secrets Act.l Nine of those sixteen actions were commenced within the last
year.

Here, as a result of the lndividual Defendants’ breaches and all Defendants’ tortious
conduct, Mercer has suffered and will continue to suffer irreparable harm in the form of lost
client relationships, goodwill and ot 1Ler irreparaule injury for which there is no adequa-e -ernedy

at law. Mercer respectfully requests that this Court issue the requested temporary restraining

 

1 See USI Ins, Servs. Nat’l, Inc. v. Lockton Cos., LLC, No. l7-cv-02895 (M.D. Fla. 2017); USI Ins. Servs. Nat’l, Inc.
v. Lockton Cos., LLC, No. 18~cv-00158 (N.D. Ill. 2018); USIIns. Servs. Nat’l, Inc. v. Lockton Cos., LLC, No. l7-cv-
02711 (D. Kansas 2017); USI Ins. Servs., LLC v. Lockton Cos., LLC, No. 17-cv-09946 (IMF) (S.D.N.Y. 2017); USI
Ins. Servs., LLC v. Lockton Cos., LLC, No. 17-cv-09948(RA) (S.D.N.Y. 2017); USI Ins. Seri/S., LLC v. Lockton-
Dunnz'ng Series ofLockton Cos., LLC No. 17-cv~03389-M (N.D. Tex. 2017); USI Ins. Servs. Nat’l Inc. v. Lockton
Cos., LLC, No. l7-cv-01842 (W.D. Wash. 2017); Wells Fargo Ins. Servs. USA, Inc. v. Galioto, No. 17-cv-04588 (D.
Mirm. 2017); Willz`s of Seattle Inc. v. Walton, No. 17-2-08461-1 (Wash. Superior Ct., King Cnty. 2017); Tompkins
Ins. Agencies, Inc. v. Sumner, No. CV 16~2217, 2016 WL 3345452, at *l (E.D. Pa. June 15, 2016); Graham Co. v,
Keith, No. 14~cv-06128 (E.D. Pa. 2014); Marsh & McLennan Agency LLC v. Housloun, Index No. 651521!2012
(N.Y. Sup. Ct., N.Y. Cnty. 2012); Marsh USA Inc. v. Cook, 354 S.W.3d 764, 766 ('l`ex. 2011); Willis Grp. Holdings
Public Ltd Co. v. Cummings, lndex No. 652603/2011 (N.Y. Sup. Ct,, N.Y. Cnty. 2011); Aon Corp. v. Haskins, No.
09~cv-0353l (D. Minn. 2009); Palmer & Cay of Ga., Inc. v. Lockton Cos., Inc., 280 Ga. 479, 479, 629 S.E.2d 800,
801 (2006).

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 8 of 27

order, preliminary injunction and expedited discovery to prevent future irreparable injury to
l\/lercer.
STATEMENT ()F FACTS

A. Background ()n Mercer

Mercer is a world leader in the health and benefits marketplace (Lynn Decl. 11 3).2 lt
provides clients with a comprehensive array of health and benefits solutions, including managing
employee benefit plans, assisting clients with choosing the right employee benefits plans to fit
their needs, providing access to market experts, and advising on regulatory compliance (Id.)

B. DiGregorio’s Employrnent With Mercer

DiGregorio began his employment with Mercer as a Principal/Sales Professional in
January 2010. (Id. 11 5). lmmediately prior to joining Mercer, DiGregorio worked at Mercer’s
affiliated company, Marsh USA lnc. (“Marsh”), as an Associate Client Executive with a focus on
property and casualty liability insurance (Id. 11 6). He had limited experienced selling employee
health and benefits solutions of the type that Mercer provides, prior to joining Mercer. (Id. 11 7).

As a Principal/Sales Professional, DiGregorio was responsible for, among other tasks,
generating new client business and growing business with existing clients. (Id. 11 8). DiGregorio
relied extensively on his Mercer colleagues to develop and grow client relationships (Id.11 9). He
depended on Principals and Senior Associates to handle day-to~day service issues for clients,
allowing him to focus on client development. (Ia'.) Mercer supported DiGregorio’s client~facing
role by sponsoring client events, financing his membership in professional and networking
organizations, and investing in marketing and sales tools, all of which DiGregorio used to form
and strengthen client relationships on behalf of Mercer. (Id. 11 10). DeGregorio gained valuable

knowledge of Mercer’s clients, including their health and benefits needs and preferences, fees

 

2 Citations to the “Lynn Decl.” refer to the Declaration of Coi'y Lynn executed on February 26, 2018.

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 9 of 27

and revenues paid to Mercer, amounts paid in insurance premiums recent losses and other risk
factors, and plan terms and renewal dates (Id. 11 11). This client confidential information is
protected by Mercer and not available to the general public. (Id.) Therefore, such information
about a specific client would be valuable to a competitor looking to compete for that client’s
business (Id.)

C. Steed’s Employment with Mercer

Steed began her employment with Mercer in or around April 2007 as a Principal. (Id. 11
13). ln that capacity, Steed was responsible for managing client relationships and ensuring client
retention by evaluating client risks and developing solutions to address client needs (ld. 11 14).
She served as primary client contact for day-to-day client needs and client questions (Id.) Steed
directly managed approximately twelve client relationships (Id. 11 15). She relied on financial
and internal resources from Mercer to manage client relationships, and developed client
relationships by virtue of her employment and with the support of an experienced team of
Mercer employees on whom she relied on to carry out her job duties ([d. 11 16). Mercer

supported Steed’s client-facing role by financing client related travel and entertainment

expenses sponsoring client events and investing in mar.-eting and sales tools, all of which Steed

used to manage and strengthen client relationships on behalf of Mercer. (Id. 11 17).

D. J ada Preston’s Employment With Mercer

Preston began her employment with Mercer in or around October 2006 as an Enterprise
Consulting Analyst. (Id. 11 19). ln that capacity, Preston was responsible for managing client
relationships and ensuring client retention by evaluating client risks and developing solutions to
address client needs (Id. 11 20). Preston served as a client contact for day-to-day client needs and
client questions (Id. 11 21). She assisted Steed in managing approximately twelve client

relationships, serving in essence as Steed’s primary deputy. (Id. 11 22). Like Steed, Preston relied

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 10 of 27

on financial and internal resources from Mercer to manage client relationships (Id. 11 23). She
developed client relationships by virtue of her employment and with the support of an
experienced team of Mercer employees, on whom she relied on to carry out her job duties on
behalf of l\/lercer. (Id.)

E. The Non-Solicitation and Confidentiality Agreements

Each Individual Defendant executed a Non-Solicitation Agreement and a Confidentiality
Agreement in connection with his or her commencement of employment at Mercer. (Id. 1111 12,
18, 24; Exs. A, B and C). In each non-Solicitation Agreement, each Individual Defendant agreed
that he or she would not, for a period of twelve months following his or her separation from
employment with Mercer, directly or indirectly solicit business from or perform services for
Mercer clients with whom each Individual Defendant had contact during his or her employment
for Mercer. (Id.) Further, in each Non-Solicitation Agreement, each Individual Defendant agreed
that he or she would not, for a period of twelve months following his or her separation from
employment with Mercer, directly or indirectly solicit employees with whom he or she worked
in the last two years of his or her employment, or about whom he or she obtained confidential
iniorrnation. (la.) Finally, each Individua- Defendant agreed in his or her Non-Solicitation
Agreement that he or she would not use his or her “position, influence, knowledge of
Confidential lnformation or Trade Secrets or [Mercer’sj assets for personal gain.” (Id.)

ln each Confidentiality Agreement, each Individual Defendant agreed not to disseminate
or disclose to any other person, organization or entity any of Mercer’s “Confidential lnformation
and Trade Secrets,” which includes among other information: “client information,” including the
amounts paid by such clients to Mercer, “personnel information,” and information relating to any
prospective client. (Id.) By signing the Confidentiality Agreement, each Individual Defendant

acknowledged: (l) that Mercer “is engaged in a highly competitive business and that its

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 11 of 27

competitive position depends upon its ability to maintain the confidentiality of the of the
Confidential lnformation and Trade Secrets which were developed, compiled and acquired by
[Mercer] at its great effort and expense”; and (2) that “any disclosing, divulging, revealing or
using of any of the Confidential Information and Trade Secrets, other than in connection with
[Mercer’s] business or as specifically authorized by [Mercer], will be highly detrimental to
[Mercer] and cause it to suffer serious loss of business and pecuniary damage (Id.)

In both the Non-Solicitation Agreement and the Confidentiality Agreement each
Individual Defendant expressly acknowledged that a breach of his or her obligations under either
Agreement would cause Mercer irreparable harm, that monetary damages would not be readily
calculable and that l\/Iercer would be entitled to temporary and permanent injunctive relief,
without the necessity of posting a bond, and recovery of its attorneys’ fees (Id.) Additionally, in
both the Non-Solicitation Agreement and the Confidentiality Agreement each Individual
Defendant agreed that the Agreements would be construed in accordance with the laws of the
State of New York and that “any action or proceeding” arising out of the Agreements or the
Individual Defendants’ employment must be brought in the Supreme Court of the State of New
York, New York County or the U.S. District Court for the Southern District of New York. (Id.)

F. The Abrupt Resignation of DiGregorio, Steed and Preston

On January 17, 2017, within minutes of each other, each Individual Defendant resigned
his or her employment by submitting nearly identical “Notices of Resignation” to Cory Lynn
l\/Iercer’s Florida Officer Leader. (Lynn Decl. 1111 26). Although Mercer’s employee handbook
provides that departing employees should provide their managers with two weeks’ notice of their
resignation DiGregorio, Steed and Preston gave no advanced notice of their resignations (Id.
1128). That same day, January 17th, Lockton announced DiGregorio’s appointment as Senior

Vice President for Lockton’s South Florida operation Lockton’s announcement stated that

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 12 of 27

DiGregorio would “advise clients . . . on employee benefits programs,” and touted his experience
as “a principal with Mercer Health & Benefits based in Fort Lauderdale,” and as a member of
several “professional associations” for which Mercer paid DiGregorio’s membership fees See
https://www.lockton.com/newsroom/post/digregorio-will-join-lockton-as-senior-vice~president~
in-florida (last visited Feb. 24, 2018).

G. Breaches Of The Non-Sonication Agreements And Confidentiality
Agreements By The Individual Defendants.

On or about January 19, 2018, just two days after their abrupt resignations if not earlier,
the Individual Defendants began soliciting clients with whom they had contact at Mercer. (Lynn
Decl. 11 29; Pernice Decl. 11 6; Marini Decl. 1111 6-9).3 Specifically, during the week of January 22,
2018, a Mercer client’s Vice President for Human Resources told Joanna Marini, a Principal at
Mercer that DiGregorio called the prior Friday and told the Vice President for Human Resources
that he resigned his position at Mercer and accepted a position at Lockton. (Lynn Decl. 11 30;
Marini Decl. 11 9). On January 31, 2018, during a meeting with representatives of a hotel client,
the client representatives told Maggie Novo-Chavarry, another Principal at Mercer that they met
with Steed and Preston, following Steed’s and Preston’s resignations from Mercer, and that
Steed and Preston attempted to sell the client health and benefit services on behalf of Lockton
Companies. (Lynn Decl. 11 32; Novo-Chavarry Decl. 1111 5-8).4

Mercer employees continued to hear reports concerning the Individual Defendants’
solicitations On February 7, 2018, Ms. Marini received two emails from the Chief Financial
Officer of a client in which the CFO forwarded emails he received from DiGregorio. (Lynn Decl.

11 34; Marini Decl. 1111 10-13; Ex. G). Also on February 7th, Denise Pernice, a Principal at Mercer,

 

3 References to the “Pernice Decl.” refer to the Declaration of Denise Pernice executed on February 26, 2018, and
references to the “Marini Decl.” refer to the Declaration of Joanna Marini executed on February 26, 2018.

4 References to the “Novo-Charvarry Decl.” refer to the Declaration of Maggie Novo-Chavarry executed on
February 26, 2018.

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 13 of 27

received a copy of a text message a client received from DiGregorio discussing DiGregorio’s
new position at Lockton, (Lynn Decl. 11 35; Pernice Decl. 11 9; Ex. F).

The following week, on February 14, 2018, Ms. Pernice met with a law firm client who
had been a client of Mercer’s for approximately four years (Pernice Decl. 11 11). Following the
meeting, a representative for the law firm client informed Ms. Pernice that for the first time in
four years the law firm would be soliciting proposals from other companies to provide health and
benefits solutions (Pernice Decl. 11 12). On February 15, 2018, Ms. Pernice and Mr. Lynn met
with the Owner and the Chief Financial Officer of a restaurant client which had been serviced by
Steed and Preston during their employment at Mercer. (Lynn Decl. 11 39; Pernice Decl. 11 13).
During that meeting, the Chief Financial Officer informed Mercer employees that the restaurant
was considering moving its business to a different vendor. (Lynn Decl. 11 39; Pernice Decl. 11 14).
He acknowledged that he had recently met Steed and Preston, and that he was considering
moving his business to Lockton, (Lynn Decl. 11 39; Pernice Decl. 11 14). Problematically, the
restaurant client was unaware the Mercer employees were subject to non-solicitation agreements
and responded upon learning that fact that “didn’t want to get anybody in trouble.” (Pernice
Decl. 11 15).

Then, on February 22, 2018, Planned Parenthood of South, East and North Florida
(“Planned Parenthood”), a client formerly serviced by Steed and Preston, terminated its
relationship with Mercer to engage the services of a new vendor. (Lynn Decl. 11 40; Fava Decl.
11 7; Ex. H).5 Mercer learned the following day that Planned Parenthood engaged Lockton as its

new broker of record. (Lynn Decl. 11 41; Fava Decl. 11 8).

 

5 References to the “Fava Decl.” refer to the Declaration of Melanie Fava executed on February 26, 2018.

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 14 of 27

H. Mercer’s Efforts to Abate the Individual Defendants’ Breaches

As early as January 23, 2018, shortly after learning of the Individual Defendants’ initial
solicitations Mercer took action to remind the Individual Defendants of their contractual
obligations and to inform Lockton of the breaches The Individual Defendants did not respond
and Lockton took no action to stop the breaches which were to its benefit.

Specifically, Jeffery Rosier, Senior Employment Counsel for MMC, sent cease and desist
letters to each Individual Defendant and emailed copies of the cease and desist letters to counsel
for Lockton, (Roiser Decl. 1111 5-9; Exs 1- L). On January 31, 2018, after learning that Steed and
Preston had visited a Mercer client (the hotel client) to pitch work, Rosier again emailed an
attorney for Lockton to ask the attorney to “escalate th[e] matter quickly so that it does not get
out of hand.” (Roiser Decl. 1111 10-11; Ex. M). Rosier ended his email by stating, “[w]e expect
Ms. Steed and Ms. Preston to honor their obligations but it appears they are presently ignoring
them.” (Ia’.) Lockton acknowledged receipt of the email but did not stop the solicitations made
on its behalf (Roiser Decl. 11 12).

ARGUMENT

le MERCER IS ENTITLED TO A TEMPORARY RESTRAlNING ORDER AND
PRELIMINARY INJUNCTION

Mercer has established its entitlement to a temporary restraining order and a preliminary
injunction “ln the Second Circuit, a plaintiff seeking a preliminary injunction must establish:
‘(a) irreparable harm and (b) either (l) likelihood of success on the merits or (2) sufficiently
serious questions going to the merits to make them a fair ground for litigation and a balance of
hardships tipping decidedly toward the party requesting the preliminary relief.”’ G-oldman, Sachs
& Co. v. Golden Empire Sch. Fin. Auih., 922 F. Supp. 2d 435, 439 (S.D.N.Y. 2013), a]Y’d, 764

F.3d 210 (2d Cir. 2014) (citing Citigroup Global Mkts., Inc. v. VCG Special Opportunities

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 15 of 27

Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010)). The same standard applies to an application
for a temporary restraining order. See Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y.
2008) (“lt is well established that in this Circuit the standard for an entry of a TRO is the same as
for a preliminary injunction.”).

A. Mercer Will Suffer Irreparable Harm Absent Injunctive Relief

“To establish irreparable harm, a plaintiff must establish both that an injury is likely
absent the injunction and that the injury cannot be adequately remedied with money damages.”
IDG USA, LLC v. Schupp, 416 F. App’x 86, 88 (2d Cir. 2011). There is no question that Mercer
will suffer irreparable harm without injunctive relief.

First, Mercer is more than “likely” to be injured absent injunction relief. The Individual
Defendants have repeatedly demonstrated their willingness to breach their contractual
obligations Their deceitful conduct to date supports the conclusion that their conduct has been
deliberate and calculated Specifically, the individual Defendants orchestrated their resignations
to give themselves a head start on soliciting Mercer clients in violation of their Non-Solicitation

Agreements by informing their supervisor by email, within minutes of each other, of their

Lockton announced DiGregorio’s appointment as a Senior Vice President for Lockton’s South
Florida operation, touting his “credentials” his “experience,” and his position as a Principal with
Mercer. The Individual Defendants’ continued breaches in spite of express notice from l\/lercer
informing them of their breaches and their continuing obligations further demonstrate that each
Individual Defendant will continue to breach his or her obligations to Mercer unless and until
injunctive relief is granted

Second, the Individual Defendants’ violations of their Non-Solicitation Agreements

“threaten to cause [Mercer] irreparable harm by luring away the business of a number of long-

_10_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 16 of 27

term [Mercer] clients.” Johnson Controls, Inc. v. A.P.T. Critz`cal Sys., Inc., 323 F. Supp. 2d 525,
532 (S.D.N.Y. 2004). lndeed, it is well-settled that the loss of “future sales goodwill and entire
client accounts” cannot be easily quantified. Uni-World Capz'tal, L.P. v. Preferred Fragrance,
Inc., 73 F. Supp. 3d 209, 236 (S.D.N.Y. 2014) (noting that the loss of client relationships and
good will can only be remedied by monetary damages in unusual circumstances); Ticor Tz'tle Ins.
Co. v. Cohen, 173 F.3d 63, 69 (2d Cir. 1999) (“it would be very difficult to calculate monetary
damages that would successfully redress the loss of a relationship with a client that would
produce an indeterminate amount of business in years to come”).

The Individual Defendants have directly targeted significant, long-standing Mercer
clients with whom they developed relationships solely by virtue of their employment with
l\/lercer. As a result of their conduct, Mercer has already lost one client relationship (Planned
Parenthood) and the goodwill built up over the years neither of which can be measured with
monetary damages See e.g., Um`-World Cczpital, 73 F. Supp. 3d at 236. lt has also lost the
benefit of the time to transition clients from the Individual Defendants to other Mercer
employees without interference, which has also caused irreparable harm to its goodwill See, e.g.
fohnsoit Coiztrols, 323 F. Supp. 2a at 532 (“the extent the pt.rpose behind the non-compete
clauses is to allow [plaintiff] a brief period to transfer the client relationships maintained through
[the individual defendants] to their replacements that benefit is inexorably lost by the failure to
enforce the clauses innnediately”). Most critically, Mercer stands to lose additional client
relationships and goodwill that would produce indeterminate revenue in the future See id. There
is no evidence that this is the unique case in which such harm can be measured by monetary

damages

_jj_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 17 of 27

Third, the Individual Defendants contractually agreed that their current violations would
constitute irreparable harm and that Mercer would be entitled to injunctive relief in the event of
their breach. (Lynn Decl,, Exs. A, B and C). Specifically, in each of the Non~Solicitation and
Confidentiality Agreements each Individual Defendant expressly acknowledged that
“irreparable injury will result to [Mercer] in the event of a breach by the Employee of his/her
obligations under this Agreement, that monetary damages for such breach would not be readily
calculable, and that the Company would not have an adequate remedy at law therefor.” (Id.) In
the Second Circuit, such contractual provisions support a finding that irreparable harm as
occurred See, e.g., N. At[. Instrumenis Inc. v. Haber, 188 F.3d 38, 49 (2d Cir. 1999) (finding
irreparable harm and relying, in part, on the former employee’s acknowledgement that a breach
of his agreement would cause “irreparable injury” to the employer); Devos, Ltd. v. Record, No.
15-CV-6916(ADS)(AYS), 2015 WL 9593616, at *10 (E.D.N.Y. Dec. 24, 2015) (finding
irreparable harm where the restrictive covenant agreement stated that a breach would result in
irreparable injury, that damages would be unascertainable in monetary terms and that the
plaintiff would have no adequate remedy at law); Uni'- World Capital, 73 F. Supp. 3d at 236-37
(any breach of the non-co“npete agreement “rnay result in irreparable harm and continuing
damages to the Employer and its business and that the Employer’s remedy at law for any such
breach or anticipated or threatened breach will be inadequate”).

B. Mercer Has A Likelihood Of Success On The Merits Or Can Demonstrate A

Sufficiently Serious Question Going To The Merits To Make Each Of Their
Claims Fair Grounds For Litigation

As set forth below, Mercer is likely to succeed on the merits of its claims against the
Individual Defendants and Lockton, or at the very least Mercer can demonstrate a sufficiently

serious question going to the merits on each of its claims

-12-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 18 of 27

1. Breach of Contract (Claims I, II and II)

The Non-Solicitation and Confidentiality Agreements are enforceable and the Individual
Defendants breached them. New York courts apply a “three-part test to determine the
reasonableness and ultimately the enforceability, of anti-competitive employee agreements.”
MasferCard Int’l Inc. v. Nike, Inc., No. 15-CV-ll4 (NSR), 2016 WL 797576, at *4 (S.D.N.Y.
Feb. 23, 2016) (citing BDO Seidman v. Hirshberg, 93 N.Y.Zd 382, 388-89 (1999)). Under that
test, “[a] restraint is reasonable only if it: (l) is no greater than is required for the protection of
the legitimate interest of the employer, (2) does not impose undue hardship on the employee, and
(3) is not injurious to the public.” [d. The Non-Solicitation and Confidentiality Agreements at
issue here easily meet this three-part test.

First, the restrictions imposed by the Non-Solicitation and Confidentiality Agreements
are no great than is required to protect Mercer’s legitimate interests Under New York law, an
employer “has a legitimate interest in preventing former employees from exploiting or
appropriating the goodwill of a client or customer, which had been created and maintained at the
employer’s expense, to the employer’s competitive detriment.” USI Ins. Servs. LLC v. Miner,
801 F. Supp. 2d 175, 187-88 (S.D.N.Y. 2011). Here it is undeniable that Mercer has a legitimate
interest in protecting its client relationships for which the Individual Defendants were
responsible in the last two years of their respective employment, and its confidential information
relating to its client relationships The Individual Defendants’ efforts to develop, retain and
expand business during their employment with Mercer were financed and supported by Mercer,
which paid, among other expenses their salaries and the salaries of the entire support team who
were essential to the overall client relationships See Johnson Controls, 323 F. Supp. 2d at 536

(plaintiff had a legitimate interest in protecting client relationships that were developed by

-13_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 19 of 27

individual defendants in connection with their employment and supported by efforts of other
employees).

Moreover, the provisions of the Non-Solicitation Agreements are narrowly tailored to
cover only those clients and prospective clients with whom the Individual Defendants had
contact, or about whom they obtained confidential information during the last two (2) years of
their respective employment, and for only one year following the Individual Defendants’
resignations New York courts have routinely upheld non-solicitation provisions with a duration
of one-year, or longer, as reasonable See Olz`ver Wyman, Inc. v. Eielson, No. 15 CIV. 5305
(RJS), 2017 WL 4403312, at *6 (S.D.N.Y. Sept. 29, 2017) (finding that the duration of a non-
solicitation clause-extending for one year following a defendant’s employment-is not unduly
burdensome); Marsh USA lnc. v. Schuhreimen, 183 F. Supp. 3d 529, 535 (2016) (“Particularly
relevant is the fact that the ban on solicitation lasts for just one year”); Silipos, Inc. v. Bi`ckel, No.
06-CV-02205, 2006 WL 2265055 at *6 (S.D.N.Y. Aug. 8, 2006) (observing that “New York
courts routinely find one-year restrictions to be reasonable”).

lmportantly, this Court has twice found that the restrictions imposed by non-solicitation
and confidentiality ageements involving Mercer’s a--iliated company5 Marsh USA Inc.,
containing nearly identical terms were reasonable in light of the interests they sought to protect
and the limited duration of the restrictions See Schuhrez'men, 183 F. Supp. 3d at 535; Marsh USA
Inc. v. Karasakz', No. 08-cv-4l95 (JGK), 2008 WL 4778239 (S.D.N.Y. Oct. 31, 2008). For the
reasons acidulated in the Karaski and Schuhriemen cases the Non-Solicitation and
Confidentiality Agreements at issue here are no greater than is required for the protection of the

legitimate interest of the employer.

_14-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 20 of 27

Second, the Non-Solicitation and Confidentiality Agreements do not impose undue
hardship on the Individual Defendants New York courts have routinely found that an individual
does not suffer undue hardship where the restrictive covenant at issue merely prohibits him from
soliciting his former employer’s clients for a reasonably defined period of time. See USI Ins.
Servs., 801 F. Supp. 2d at 190 (“USI is not seeking to preclude Miner from working as an
insurance producer for IOA. USI instead seeks only to preclude Miner from soliciting or
servicing former USI clients”). Here, the Non-Solicitation and Confidentiality Agreements do
not prevent the Individual Defendants from working as insurance brokers or sales professionals
or generally from servicing organizations seeking employee benefit services Nor do they restrict
the Individual Defendants from being employed by Lockton, a direct competitor, or even from
competing against Mercer. The Individual Defendants are only prohibited from: (1) soliciting,
interfering with, or servicing the limited group of clients for which they were responsible or
about whom they obtained confidential information in their last two years at Mercer,
(2) soliciting employees with whom they worked in the last two years of employment or about
whom they have confidential information, and (3) disclosing or utilizing Mercer’s confidential
in-orrnation and trade secrets Because they are free to pursue a “wide array” of other clients on
behalf of Lockton, and because the non-solicitation restrictions apply for only one year, “Mercer
is likely to prevail on its showing that the agreements do not impose an undue hardship on [the
Individual Defendants].” Marsh USA Inc., 2008 WL 4778239, at *18.

Third, enforcing the Non-Solicitation Agreements will not harm the public, the majority
of which is free to work with the Individual Defendants The clients the Individual Defendants
worked with in their last two years at Mercer also are not harmed because they can work with the

Individual Defendants or Lockton after the narrow one-year restriction period expires ln fact,

_15_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 21 of 27

“[i]f anything, the public interest would be advanced by such an injunction, because, on the facts
here, such an injunction would tend to encourage parties to abide by their agreements.” Unz`-
World, 73 F. Supp. 3d at 237.

Finally, Mercer likely will be able to establish that the Individual Defendants breached
their agreements Following their resignations Defendants Steed and Preston met with at least
two Mercer clients with whom they worked during their last two years of employment, in clear
contravention of their Non-Solicitation Agreements. (Lynn Decl. 1111 32, 39; Pernice Decl. 1111 12-
15; Novo~Chavarry Decl. 1111 5-8). A third client serviced by Steed and Preston during their
employment with Mercer informed Mercer by email on Pebruary 22, 2018 that it “decided to
engaged [the] services of another vendor”-Lockton. (Fava Decl. 11 7, Ex. H).

The Individual Defendants’ announcements of their departures to existing Mercer clients
through individualized distribution and other targeted solicitations also violated the Non-
Solicitation Agreements. In USI Insurance Services v. Miner, this Court found that the defendant
breached his non-solicitation agreements by sending an email that informed his former clients of
his new position at a competing insurance company and touted the merits of the his new
“mployer. USI Ins. Servs., 801 F. Supp. 2d ct 192-3. Likewise in S",,u,iri`emea, this Court round
that the defendant’s “notice announcing his employment . . . was not a general announcement,”
but rather a targeted solicitation likely in violation of the defendant’s non-solicitation agreement
Schuhriemen, 183 F. Supp. 3d at 536. The email, text and phone solicitations by the Individual
Defendants here are no different

2. Breach of Fiduciary Duties (Claim IV) and Unfair Competition
(Claim VII)

Under New York law, employees owe their employers a fiduciary duty of loyalty,

including a duty to not use or disclose the employer’s confidential information for the purpose of

-15_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 22 of 27

competing with the employer. PLC T reaching Co., LLC v. Newton, No. 6211-CV-0515, 2011 WL
13135653, at *9 (N.D.N.Y. Dec. 12, 2011). Here, as set forth above, the Individual Defendants
owed Mercer a fiduciary duty of loyalty not to disclose Mercer’s confidential information for the
purpose of competing with Mercer. As evidenced by Lockton’s February 16th email containing
Mercer’s client revenue estimates, the Individual Defendants breached their duty by providing
information Mercer treats as confidential to a competitor for purposes of attracting the business
to their new employer. Based on these facts, Mercer has a likelihood of success on the merits of
its breach of fiduciary duty claim.

“To state an unfair-competition claim on a theory of misappropriation under New York
common law, a plaintiff must allege that the defendant (1) misappropriated and used, (2) the
plaintiffs property, (3) to compete against the plaintiffs own use of the same property.” Id.
Sirnilarly, “[t]o state a claim for misappropriation of confidential information, a plaintiff must
allege that the defendant used the plaintiff’s confidential information for the purpose of securing
a competitive advantage.” Reed Consr. Dara Inc. v. Mchw-Hz`ll Cos., Inc., 745 F. Supp. 2d
343, 352 (S.D.N.Y. 2010). The facts stated above demonstrate that Mercer has a likelihood of

and its misappropriation of confidential

23
('§
,_..
se
,.. .
23

success on the merits of its unfair competitio
information claim insofar as Defendants are in possession of Mercer’s confidential information
concerning Mercer’s expected annual client revenues and have or will use that information to
unfairly compete with Mercer for business

3. Tortious Interference Claims (Claims V and VI)

“To state a claim for tortious interference with business relations under New York law,
four conditions must be metz (i) the plaintiff had business relations with a third party; (ii) the
defendants interfered with those business relations; (iii) the defendants acted for a wrongful

purpose or used dishonest, unfair, or improper means; and (iv) the defendants’ acts injured the

_17_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 23 of 27

relationship.” Scuttz' Enters,, LLC. v. Park Place Entm ’t Corp., 322 F.3d 211, 215 (2d Cir. 2003).
Here, Mercer has business relationships with each of its clients, including Planned Parenthood,
and its prospective clients Defendants interfered with Mercer’s business relationships by
soliciting Mercer’s clients with knowledge of Mercer’s pricing and expected revenues for the
purpose of undermining Mercer’s relationship with those clients, and converting those clients to
become clients of Lockton. One client, Planned Parenthood, has already terminated its
relationship with Mercer in favor of Lockton based on Defendants’ tortious conduct Two other
clients have indicated that they would solicit proposals from other vendors, which, upon
information and belief, includes Lockton, Mercer likely will be successful on this claim.

To prevail on its claim against Lockton for tortious interference with contract under New
York law, Mercer must demonstrate: (1) the existence of valid contracts between Mercer and the
Individual Defendants (2) Lockton’s knowledge of those contracts, (3) Lockton’s procurement
of the Individual Defendants’ breaches of those contracts and (4) damages Envtl. Servs., lnc. v.
Recycle Green Servs., Inc., 7 F. Supp. 3d 260, 276 (E.D.N.Y. 2014). Each of these elements is

met here. First, as demonstrated above, the Individual Defendants’ Non-Solicitation and

the existence of the contracts no later than January 23, 2018 for DiGregorio, and January 25,
2018 for Steed and Preston--i.e. the dates on which counsel for Mercer’s parent company
provided copies of the agreements to Lockton’s attorney. Third, notwithstanding their knowledge
of the Agreement, Lockton permitted the Individual Defendants to solicit Mercer clients
throughout February 2018, covert a Mercer client on February 22, 2018, and provide confidential
client revenue information to Lockton on or around February 16, 2018, Mercer is likely to

succeed on this claim.

_18-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 24 of 27

C. A Balancing of the Equities Tips in Favor of Granting Preliminary
Injunctive Relief

Mercer has demonstrated a likelihood of success on the merits for each of its eight
claims However, insofar as the Court finds that Mercer has only raised sufficiently serious
questions going to the merits of each claim, the Court should still issue the requested temporary
restraining order and preliminary injunction because a balance of the equities tips in favor of
Mercer.

Mercer merely seeks to maintain the status quo and prevent Defendants from breaching
their contractual obligations breaching their fiduciary duties and engaging in tortious and unfair
business practices The Individual Defendants’ contractual obligations are reasonable and
narrowly tailored. The Agreements do not prevent the Individual Defendants form working for
Lockton or developing business based on their current employment and resources Nor do the
Agreements prevent Lockton from engaging in business which fairly competes with Mercer.

On the other hand, if the Court denies Mercer’s request for immediate equitable relief,
Defendants will be allowed to continue to unfairly compete with Mercer using Mercer’s
confidential information and undermining the investment of substantial time, resources and
goodwill that Mercer made in its client relationships Therefore, the balance of the equities
decidedly weight in favor of Mercer. See Schuhriemen, 183 F. Supp. 3d at 536~37 (granting
preliminary injunctive relief and observing with respect to the “to the balance of equities,” that
the individual defendant was unlikely to suffer “great hardship” if he was prevented for one year
from soliciting” the plaintiffs’ clients, and further observing that plaintiff could have “face[d] the
prospect of losing business to a major competitor, transported by a high-level company

official”).

_19-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 25 of 27

II. MERCER SHOULD NOT BE REQUIRED TO POST A BOND.

“The language of Rule 65(c) confers broad discretion on the trial judge to set the amount
of the bond, even to dispense with the bond requirement altogether.” R.L.E. Corp. d/b/a Casa
Imports v. Ferraro Foods, Inc., No. 6115-cv-123 (GLS/TWD), 2015 WL 1456178, at *l
(N.D.N.Y. March 30, 2015) (bond requirement was unnecessary where individual defendant
failed to establish that he was likely to suffer any harm absent the posting). In this case, neither
the Individual Defendants nor Lockton can establish that they will be harmed if a bond is not
posted As discussed above, Mercer’s requested relief will not prevent any Individual Defendants
from earning a livelihood, and will not prevent Lockton from operating its business

Moreover, each Individual Defendant expressly agreed in his or her Non-Solicitation
Agreements that Mercer would be entitled “to temporary and permanent injunctive relief
(without the necessity of posting a bond).” (emphasis added) No bond should be required where,
as here, the parties have expressly agreed otherwise See Singas Famous Pizza Brands Corp. v.
N.Y. Advert. LLC, No. 10-cv-8976 (RJH), 2011 WL 497978, at *12 (S.D.N.Y. Feb. 10, 2011),
ajj”’d, 468 F. App’x 43 (2d Cir. 2012) (no bond required where franchisee agreed that franchisor
“may have such injunction relief without necessity of posting a bond”); Karasakz`, 2008 WL
4778239 at *21 (“the parties agreed in Section 7 of the RCA that no bond would be required for
any temporary or permanent injunction, and the parties may agree to waive the bond
requirement”).

III. THE C()UR'I` SHOULD GRANT PLAINTIFFS’ REQUEST FOR EXPEDITED
DISC()VERY

This Court has often granted expedited discovery in cases involving restrictive covenants
See, e.g., Uni-World Capital, 43 F. Supp. 3d at 241 (expedited discovery permitted in non-

compete case); Nebraskaland, Inc. v. Brody, No. 09-CV-9155 (DAB), 2010 WL 157496, at *1

_20_

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 26 of 27

(S.D.N.Y. Jan. 13, 2010) (expedited discovery permitted in restrictive covenant case involving
solicitation of customers); DAG Jewish Directories, Inc. v. Y & R Mea'ia, LLC, No. 09 CIV.
7802 (RJH), 2010 WL 46016, at *l (S.D.N.Y. Jan. 7, 2010) (expedited discovery granted in
conjunction with a preliminary injunction). Here, Mercer seeks the prompt deposition of the
Individual Defendants in New York and the production of limited documents including all
communications between each Individual Defendant and anyone acting in concert with them or
on their behalf and any Mercer client with whom the Individual Defendants worked or about
whom the Individual Defendants worked obtained confidential information during the last two
years of their employment Only the Individual Defendants know the full extent of their activities
in violation of their Non~Solicitation and Confidentiality Agreements, and it will be impossible
for Mercer to ascertain the full extent of their misconduct without their sworn deposition
testimony and document production
CONCLUSION

For the foregoing reasons, Mercer respectfully requests the Court grant their motion for a
temporary restraining order, preliminary injunction, and expedited discovery. The equitable
relief sought has bee‘i 'i"rrowly tailored to c.~.hieve Mercer’s legitimate and substantial interest in
protecting itself from loss of good will, client relationships and irreparable harm. The injunctive
relief would not unduly restrict the Individual Defendants from working for his current employer
performing insurance brokerage and employees benefits services outside the scope of the

restraining order, and would not otherwise prevent Locktori from operating its business

_Qj-

Case 1:18-cv-01805-.]GK Document 24 Filed 03/13/18 Page 27 of 27

Date: February 28, 2018
New York, New York "`~§

 

w z {_ §

A. Michael Weber

Shawn Matthew Clark
LlTTLER MENDELSON, P.C.
900 Third Avenue

New York, NY 10022.3298
212.583.9600

Att()rl'zeysf()r Plaimijj"
Mercer Hea[th & Benefi`ts LLC

-22_

